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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                             No. 21 CR 618
       v.
                                             Honorable Martha M. Pacold
 CHARLES LIGGINS, et al.

  GOVERNMENT’S THIRD UNOPPOSED MOTION FOR AN EXTENSION
   OF TIME TO RESPOND TO DEFENDANTS’ POST-TRIAL MOTIONS

      The United States makes a third unopposed request for additional time to

respond to defendants’ motions, for an additional 45 days, until January 30, 2025.

All six of the defendants’ sentencings are now scheduled to occur in August and

September 2025. As a result, no defendant will be prejudiced by this request.

Defendants request 45 days in order to file their replies in support of their post-trial

motions.

      After a jury trial that commenced on October 10, 2023, and concluded with the

jury’s verdict on January 17, 2024, defendants Charles Liggins, Kenneth Roberson,

Tacarlos Offerd, Christopher Thomas, Marcus Smart, and Ralph Turpin were all

convicted of having committed the murder of Carlton Weekly, a/k/a “FBG Duck,” in

aid of racketeering activity, and conspiring to murder Weekly in aid of racketeering

activity. See Dkt. 439-450. Defendants Liggins, Roberson, Offerd, Thomas, and Smart

were also convicted of firearms offenses and the assault with a deadly weapon of two

additional victims, in aid of racketeering activity. See Dkt. 439-448.

      Each defendant has filed post-trial motions. See Dkt. 548-553. Defendants’

post-trial motions were originally due to be filed on or before April 16, 2024. See Dkt.
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439, 441, 443, 445, 447, and 449. With no opposition from the government, defendants

were given additional time to file their post-trial motions—first until July 17, 2024,

and then until August 7, 2024. See, e.g., Dkt. 529, 545. The government’s response to

defendants’ motions was originally due on September 6, 2024. Dkt. 545. The Court

later gave the government additional time to respond to defendants’ motions, until

October 31, 2024, and later until December 16, 2024. Dkt. 556, 558.

       The United States requests additional time to respond to defendants’ motions,

until January 30, 2025. No defendant opposes this request. Defendants in turn

request until March 17, 2025, to file their replies to the government’s response. The

government does not oppose this request.

       As the government stated in its motions filed on September 6, 2024, and

October 31, 2024 (Dkt. 555, 557), defendant’s motions identify many arguments that

the government must respond to, stemming from what defendants argue are issues

that occurred over the course of a lengthy trial. The record in this case is robust. The

government needs additional time to comb through the trial transcript to adequately

respond to the arguments that defendants have raised, and some defendants have

made arguments that are totally different from those made by other defendants. Each

defendant is facing a mandatory minimum sentence of life imprisonment and will not

be prejudiced if the time is extended for the government to file its response to

defendants’ motions and for the defendants to file their replies, should they choose to

file a reply.




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      For these reasons, the United States requests additional time to respond to

defendants’ post-trial motions, until January 30, 2025. This request is unopposed

by defendants, who in turn request until March 17, 2025, to file their replies to the

government’s response. The government does not oppose this request.

                                       Respectfully submitted,

                                       MORRIS PASQUAL
                                       Acting United States Attorney


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                          CERTIFICATE OF SERVICE

      I, Jason A. Julien, an attorney, certify that I served a copy of the foregoing
Third Unopposed Motion for an Extension of Time to Respond to Defendants’ Post-
Trial Motions, by filing the same using the CM/ECF System, and that a copy will be
provided to all parties of record designated to receive notice.

                                      Respectfully submitted,

                                      MORRIS PASQUAL
                                      Acting United States Attorney


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